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                        IN THE UNITED STATES DISTRICT COURT                  FILED
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                                                   December 28, 2018
                                                                     KAREN MITCHELL
IN THE MATTER OF                           §                     CLERK, U.S. DISTRICT COURT
CIVIL LITIGATION INVOLVING                 §      Special Order No. 13-3
THE FEDERAL GOVERNMENT                     §
AS A PARTY                                 §

           ORDER GRANTING GOVERNMENT’S OMNIBUS MOTION FOR
            STAY OF CASES IN LIGHT OF LAPSE OF APPROPRIATIONS

       Having reviewed the government’s omnibus motion for a stay of all civil cases in

the Northern District of Texas in which (1) the United States or a federal agency or

official is a party and (2) the attorney of record is an Assistant United States Attorney in

the U.S. Attorney’s Office for the Northern District of Texas, and for the reasons set forth

in the motion, the Court GRANTS it. Unless otherwise directed by the presiding judge in

a particular case, all civil cases identified in the attached Exhibit A are hereby STAYED

until further notice.

       The government is directed to notify the Court as soon as Congress has

appropriated funds for the Department of Justice, and the stay will be lifted at that time.

All current deadlines for the parties in all cases stayed by this Order will be extended

commensurate with the duration of the lapse in appropriations for the Department of

Justice.

       SO ORDERED.

       December ___, 2018.


                                           BARBARA M.G. LYNN
                                           Chief Judge
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                                     Exhibit A
Beran, Lindsey    1:18cv181-C Tamasoa v. Keith
                  1:18cv192-C Pruitt v. Keith
                  3:12cv4457-N Capshaw et al v. White et al
                  3:17cv898-L-BN Brown v. USA
                  3:17cv2987-D-BT Chima v. United States of America
                  3:18cv834-L-BN Yeboah v. US Immigration and Custom Enforcement
                  3:18cv2043-G-BN Severino v. Johnson
                  3:18cv2304-S-BK Bao v. Session
                  3:18cv2306-N-BT Lewis v. USA
                  3:18cv2683-G-BH Hammad v. Session
                  3:18cv3088-B-BK Malakhov v. Session
                  4:18cv920-O Rodriguez v. Wilson
                  4:18cv926-O Harden v. Wilson
                  4:18cv954-O Cox v. Wilson

Chapman,          3:17cv2989-D USA v. $4,480,466.16 et al.
Beverly           4:14cv716-Y USA v. 1984 Beechcraft King Air 300

Cherry, Marti     3:16cv2911-B-BK Rutila v. US Department of Transportation et al
                  3:17cv2639-N-BT Begay v. Leap et al
                  3:18cv526-D-BT Sterling v. United States of America
                  3:18cv2353-G-BH Barela v. Underwood et al
                  4:17cv666-O Martinez v USA
                  4:18cv306-Y Fuller v. Chao

Compton, Mattie   2:17cv209-D USA v. Lyon et al

Coffin, Kenneth   3:12cv4457-N Capshaw et al v. White et al
                  3:18cv774-K-BK Parson v. Hale et al
                  5:18cv89-C Delgado-Jimenez v. McAdams

Cruce-Haag, Ann   1:18cv73-C Oldham v. United States Small Business Association
                  2:16cv129-D-BR Collier v. Esper et al
                  2:18cv163-D-BR Bishop v. Olsen et al
                  3:18cv1450-D Brooks v. US Department of Education
                  4:14cv1028-Y Blevins v. Bureau of Prisons Warden et al
                  5:18cv89-C Delgado-Jimenez v. McAdams
                  5:18cv95-C Le v. The United States of America
                  5:18cv165-C Frizzell v. United States of America et al




                                                                   EXHIBIT A – p. 1 of 3
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Delaney, Sarah   3:16cv3495-D Anibowei v. Lynch et al
                 3:18cv1404-N-BT White v. Underwood
                 3:18cv2372-G Med-Cert Home Care LLC v. Azar, II et al
                 3:18cv2469-C Carter-Simmons v. United States of America
                 4:18cv497-A Nowlin v. United States of America
                 4:18cv773-A Wooderts v. United States of America

Guiltinan,       3:17cv3341-S Mariacher v. United States of America
Richard          3:18cv280-L United States of America v. Knowles
                 4:18cv735-O Keehn v. United States Postal Service et al

Hasday, Lisa     3:15cv1178-K Stokes v. Johnson
                 3:17cv2482-D Cueva-Bustamante v. United States of America
                 3:17cv2701-M-BN Guillot v. Harmon et al
                 3:18cv686-C Price v. Wheeler
                 3:18cv1018-B-BH Brewer v. US Department of Justice et al
                 3:18cv1195-BK Okeayainneh v. US Department of Justice et al
                 3:18cv1349-M-BK Berk v. Executive Office of United States Attorneys
                 3:18cv1610-K Naquin v. United States of America
                 3:18cv2320-N Davidson v. US Department of Homeland Security et al
                 4:18cv614-A Johnson v. United States of America

Mahaffey, Clay   3:18cv2810-N Spencer et al v. USA

Martin, Greg     3:18cv1916-S USA v. $120,220 in U.S. Currency
                 3:18cv2346-B USA v. $94,995 in US Currency

Parker, Tami     1:17cv177-C Hendrick Medical Center v. Hargan
                 1:18cv11-C Anson General Hospital v. Azar, II
                 2:16cv129-D-BR Collier v. Esper et al
                 4:16cv752-O-BP United States of America v. Conner
                 4:17cv516-O Dao v. Upton et al
                 4:18cv59-A Mitchem v. United States of America
                 4:18cv225-O Conner v. United States of America
                 4:18cv497-A Nowlin v. United States of America

Rocha, Dimitri   3:13cv4495-B USA v. $14,245.67 in United States Currency
                 3:15cv4034-N USA v. Real Property Known as 802 CR 3375
                 3:17cv615-C USA v. 3000 Broken Bow Way,
                 3:18cv213-B USA v. $73,947.35 in United States currency
                 4:15cv806-Y USA v. $116,592 in U.S. Currency
                 4:18cv356-O USA v. Real Property Known as 2204 Park Springs Blvd.
                 7:17cv106-O USA v. One Fossilized Tyrannosaurus Bataar Skull




                                                                   EXHIBIT A – p. 2 of 3
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Stoltz, Brian   3:17cv695-M Beltran Hernandez v. US Dept of Homeland Security et al
                3:17cv3008-K Family Rehabilitation Inc v. Hargan et al
                3:18cv359-S McGinty v. Azar
                3:18cv1988-N-BT Suter v. Denton et al
                3:18cv2941-N-BK Raney v. Dept of Agriculture
                4:18cv311-O BNSF Railway Company v. EEOC
                3:18cv2946-B Reich v. Berryhill

Theiss, Dawn    3:17cv3299-L Murray v. United States of America
                3:18cv437-B United States of America v. Malcolm et al
                3:18cv2649-G-BN Redrick v. USA

Tindall, Mark   2:18cv0104-D USA v. $25,865.00 in U.S. Currency
                2:18cv155-D USA v. $10,000 in U.S. Currency
                2:18cv186-D USA v. $114,308 in U.S. Currency
                3:17cv2286-N USA v. $50,060 in United States Currency
                3:18cv683-G USA v. $33,000 in US Currency
                3:18cv725-N USA v. $20,427.00 in U.S. Currency
                3:18cv1728-N USA v. 2017 Ford F350
                3:18cv1869-S USA v. $77,010 in U.S. Currency
                4:18cv326-O USA v. Sig Sauer (Sig-Arms) MPX-P Pistol et al

Webb, Donna     3:18cv1230-B Reaves v. US Small Business Administration et al

Woodward,       1:17cv39-C Vaughn v. Castaneda et al
Amber           3:16cv3432-D Ndom v. Duke et al
                3:17cv3347-N-BH Davis v. Brennan et al
                3:18cv834-L-BN Yeboah v. US Immigration and Customs Enforcement
                3:18cv1823-K ITSERVE Alliance Inc v. Nielsen et al
                3:18cv1912-K-BH Ogbogu v. Department of Labor et al
                3:18cv2043-G-BN Severino v. Johnson
                3:18cv2304-S-BK Bao v. Session
                3:18cv2683-G-BH Hammad v. Session
                3:18cv3258-G Rasheed v. Bierman et al
                4:18cv488-O Trejo v. Pompeo et al
                5:18cv95-C Le v. The United States of America




                                                                EXHIBIT A – p. 3 of 3
